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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 22-cr-10-RJL
                                              :
AVERY MACCRACKEN,                             :
                                              :
                        Defendant.            :


                                  JOINT STATUS REPORT

       The United States of America and defendant Avery MacCracken jointly file this status

report and respectfully request that the Court schedule a plea hearing.

       1. At a status conference on October 4, 2022, the defendant informed the Court that he

           wished to plead guilty to one count of 18 U.S.C. § 231(a)(3). A plea hearing was

           scheduled for December 12, 2022.

       2. On November 29, 2022, the Government informed the Court that the parties were still

           negotiating the terms of the pela agreement. The Court granted the Government’s

           unopposed motion to continue the plea hearing and excluded time under the Speedy

           Trial Act.

       3. On February 14, 2023, the parties filed a status report indicating that a revised plea

           agreement was awaiting execution by the defendant. The Court ordered that the time

           period between February 14, 2023 and the date of the next status conference be

           excluded from any calculation under the Speedy Trial Act.

       4. On April 21, 2023, the Court granted the Government’s Motion for Dismissal Without

           Prejudice of Count Two of the Indictment.

       5. The defendant has executed the plea paperwork and returned it to counsel for the

           Government.
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6. Accordingly, the parties respectfully request that the Court schedule a change of plea

   hearing.

7. The parties further agree that, pursuant to the Speedy Trial Act, the time between May

   26, 2023 and the next court conference should be excluded from speedy trial

   calculations on the basis that the ends of justice outweigh the best interest of the public

   and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

                                      Respectfully submitted,

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                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052


                              By:     /s/ Brian Morgan
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